           Case 1-20-40287-cec            Doc 22       Filed 02/26/20     Entered 02/26/20 11:19:58


UNITED STATES BANKRUPTCY COURT                                     Return Date: April 9, 2020
EASTERN DISTRICT OF NEW YORK                                       Time: 10:00 a.m.
--------------------------------------------------------X
In re:
                                                                   Chapter 13
                                                                   Case No.: 20-40287-608
RONA WYNNE HAVENS


                           Debtor(s)                               NOTICE OF MOTION
--------------------------------------------------------X
SIRS / MADAMS:

                PLEASE TAKE NOTICE, that MICHAEL J. MACCO, Chapter 13 Trustee of the above
captioned estate, will move before the Honorable Carla E. Craig, United States Bankruptcy Judge, on the
9th day of APRIL, 2020 at 10:00AM, at the United States Bankruptcy Court located at 271 Cadman Plaza
East – Courtroom 3529, Brooklyn, New York 11201, for an Order pursuant to 11 U.S.C. §§521 & 1307(c),
dismissing this case, by reason of the debtor(s)’ failure to provide and/or file documents, and for such other
and further relief as this Court deems just and proper.

              PLEASE TAKE FURTHER NOTICE, that answering papers, if any, shall be filed with the
Court and served on the undersigned no later than seven (7) days prior to the return date of this motion.

Dated: Islandia, New York                                   Yours, etc.
       February 26, 2020
                                                            MICHAEL J. MACCO
                                                            Chapter 13 Trustee
                                                            2950 Express Drive South, Suite 109
                                                            Islandia, NY 11749
                                                            (631) 549-7900

To:     Office of the United States Trustee
        RONA WYNNE HAVENS, Debtor(s)
        BTZALEL HIRSCHHORN, ESQ., Attorney for Debtor(s)
        All Interested Parties and Creditors
           Case 1-20-40287-cec            Doc 22       Filed 02/26/20   Entered 02/26/20 11:19:58



UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------X          tmm1634
In re:
                                                                   Chapter 13
                                                                   Case No.: 20-40287-608
RONA WYNNE HAVENS


                           Debtor(s)                      APPLICATION
--------------------------------------------------------X
TO THE HONORABLE CARLA E. CRAIG, UNITED STATES BANKRUPTCY JUDGE:

                MICHAEL J. MACCO, Chapter 13 Trustee of the above captioned estate, respectfully
represents, as follows:

           1. The debtor(s) filed a petition under the provisions of 11 U.S.C. Chapter 13 on
January 16, 2020, and thereafter MICHAEL J. MACCO was duly appointed and has qualified as Trustee.

            2. As of the date of this motion, the debtor(s) has failed to provide the
Trustee with amended Schedules E/F to list 2019 tax liability or show proof it was paid; amended Schedules
I and J to match leases totaling $4,950.00; copy of the Loss Mitigation package submitted to the bank; and a
resolve the Objection to Confirmation.

             3. This is a material default and is prejudicial to the rights of the creditors of the
debtor.

            WHEREFORE, the Trustee requests an Order pursuant to the provisions of 11 U.S.C.
§§521 & 1307(c), dismissing this case, and for such other and further relief as this Court deems just and
proper.

Dated: Islandia, New York
       February 26, 2020
                                                            /s/ Michael J. Macco
                                                            Michael J. Macco, Chapter 13 Trustee
                                                            2950 Express Drive South, Suite 109
                                                            Islandia, NY 11749
                                                            (631) 549-7900
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STATE OF NEW YORK                      )
COUNTY OF SUFFOLK                      )     ss.:

                STEPHANIE TURNER, being duly sworn deposes and says: deponent is not a party to this
action, is over 18 years of age and resides in Suffolk County, New York.

                    On February 26, 2020 deponent served the within:

                                           NOTICE OF MOTION AND APPLICATION

upon the following parties, at the addresses designated by said parties for that purpose, by depositing a true
copy of same, enclosed in a post-paid, properly addressed wrapper in an official depository under the
exclusive care and custody of the United States Postal Service within the State of New York:

Rona Wynne Havens
183 Beach 128th Street
Belle Harbor, NY 11694
Debtor(s)

Wilmington Savings Fund Society, FSB
Attn: Stephani A. Schendlinger, Esq.
c/o Robertson, Anschutz, Schneid & Crane LLC
10700 Abbott's Bridge Road, Suite 170
Duluth, GA 30097

and upon the following parties, by the e-mail address designated by said parties for that purpose;

Office of the United States Trustee
U.S. Federal Office Building
USTP.Region02.BR.TFRTDR@usdoj.gov

Btzalel Hirschhorn, Esq.
Shiryak, Bowman, Anderson, Gill & Kadochnikov, LLP
bhirschhorn@abzlaw.com
Attorney for Debtor(s)



                                                         /s/ Stephanie Turner
                                                         STEPHANIE TURNER
Sworn to before me this
26th day of FEBRUARY, 2020


/s/ Janine M. Zarrilli
NOTARY PUBLIC
Janine M. Zarrilli
Notary Public, State of New York
No. 01ZA5084708
Qualified in Nassau County
Commission Expires September 8, 2021
